                     UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF NORTH CAROLINA
                              ASHEVILLE DIVISION


UNITED STATES OF AMERICA                     )       DOCKET NO. 1:05CR234-6
                                             )
               vs.                           )       ORDER OF DISMISSAL
                                             )
DEFOIX BOYD PARKER                           )


       THIS MATTER is before the Court on the Government’s motion to dismiss the

indictment as it relates to Defoix Boyd Parker only without prejudice.

       For the reasons stated in the motion and for cause shown,

       IT IS, THEREFORE, ORDERED that the Government’s motion to dismiss is

ALLOWED, and the indictment is hereby DISMISSED WITHOUT PREJUDICE as to

Defoix Boyd Parker only.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office and the

United States Attorney's Office.



                                                     Signed: March 14, 2006




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